Case 2:05-cv-02300-.]PI\/|-STA Document 13 Filed 06/24/05 Page 1 of 3 Page|D 10

:'H .

UNITED STATES DISTRICT COURT "" ' »' \ h. .J.t,',
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JL,_.J i
WESTERN DIVISION "‘\' 21§ t%-t a. ;,'_
i:_w~.»¢_- it ,__
Roy Alinsub and Millicent Viva, ) ';: ‘~ `“"t '§)
on behalf of themselves and ) W'D' Ul" `i`vl,' ..`,*,'\,`,,~n’i§
all others similarly situated, )
)
Plaintiffs, )
)
v. ) Case No. 05-2300 MI An
)
T-MOBILE, and )
T-MOBILE USA, )
)
Defendants. )

gin §
ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION
TIME IN WHICH TO RESPOND TO PLAINTIFFS’ MOTION T() REMAND
__‘"_~_-\-_».._.___,_,___”_____._'__2
FOR LEAVE OF COURT TO FILE REPLY BRIEF IN SUPPORT OF
DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ CLAIMS AND COMPEL
ARBITRATION OR IN THE ALTERNATIVE STAY PROCEEDINGS AND
FOR EXTENSION OF TIME IN WHICH TO FILE REPLY BRIEF
The Court having considered Det`endant’s Motion for Extension of Time in
Which to Respond to Plaintiff’ s Motion to Remand, for Leave of Court to File Reply
Brief in Support of Defendant’s Motion to Dismiss Plaintifl’ s Claim and Compel
Arbitration or, in the Alternative, Stay Proceedings, and For Extension of Time in Which
to File Reply Brief, and finding that the interest of justice Will be served by the granting
thereof,
IT IS ORDERED that:
l. Defendant T-Mobile USA is hereby granted an extension of time through

and including Tuesday, July 12, 2005, in which to respond to Plaintiffs’ Motion to

Remand;

Thls document entered on the docket sheet in compliance
with Ru|e 58 and/or 79(a} FRCP on

/_\
{/”3’;

 

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2. Defendant T-Mobile USA is hereby granted leave to tile a reply
memorandum in Support of its Motion to Disrniss Plaintift`s’ Clairns and Compel
Arbitration or, in the Alternative, Stay Proceedings; and

3. Defendant T-Mobile USA is hereby granted through and including

€/WM

H n. Jon Phipps McCalla
U ited States District Judge

Tuesday, July 12, 2005, in which to file said reply brief.

ENTERED THISZ&! DAY o l\/\c, , 2005.

   
 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CV-02300 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

